          Case BANKRUPTCY
UNITED STATES  08-04535 Doc 45 Filed
                          COURT,     07/18/08 DISTRICT
                                  NORTHERN      Entered 07/18/08 18:14:18 EASTERN
                                                         OF ILLINOIS,      Desc Main
                                                                                  DIVISION
                                 Document      Page 1 of 2
IN RE:                                                  CASE NO. 08 B 04535
   JAMES F DOUGLAS JR
                                                        CHAPTER 13

                                                       JUDGE: JACQUELINE P COX
          Debtor
   SSN XXX-XX-8348

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                       TRUSTEE'S FINAL REPORT AND ACCOUNT
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     The case was filed on 02/28/2008 and was not confirmed.

      The case was converted to chapter 7 without confirmation 04/21/2008.
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CREDITOR NAME                CLASS       CLAIM AMOUNT    INTEREST     PRINCIPAL
                                                           PAID         PAID
--------------------------------------------------------------------------------
AMERICAS SERVICING COMPA NOTICE ONLY    NOT FILED             .00          .00
SANTANDER CONSUMER USA    SECURED NOT I 15178.59              .00          .00
SANTANDER CONSUMER USA    UNSECURED     NOT FILED             .00          .00
PEOPLES GAS LIGHT & COKE UNSECURED        3940.25             .00          .00
NEW AGE CHICAGO FURNITUR SECURED           500.00             .00          .00
INTERNAL REVENUE SERVICE PRIORITY          639.98             .00          .00
INTERNAL REVENUE SERVICE UNSECURED          34.95             .00          .00
AMERICAS SERVICING COMPA CURRENT MORTG        .00             .00          .00
AMERICAS SERVICING COMPA MORTGAGE ARRE 40000.00               .00          .00
CAPITAL ONE BANK          UNSECURED     NOT FILED             .00          .00
AT & T WIRELESS           UNSECURED     NOT FILED             .00          .00
MCI COMMUNICATIONS        UNSECURED     NOT FILED             .00          .00
CHASE                     UNSECURED     NOT FILED             .00          .00
CIT GROUP CONSUMER FINAN UNSECURED      NOT FILED             .00          .00
CREDIT ONE BANK           UNSECURED     NOT FILED             .00          .00
PATHOLOGY CONSULTANT      UNSECURED     NOT FILED             .00          .00
FIRST PREMIER BANK        UNSECURED     NOT FILED             .00          .00
FREEMONT INVESTMENT & LO UNSECURED      NOT FILED             .00          .00
FREEMONT INVESTMENT & LO UNSECURED      NOT FILED             .00          .00
FIRST NATIONAL BANK       UNSECURED     NOT FILED             .00          .00
FIRST PREMIER BANK        UNSECURED     NOT FILED             .00          .00
HSBC BANK                 UNSECURED     NOT FILED             .00          .00
MEDICAL BUSINESS BUREAU UNSECURED       NOT FILED             .00          .00
RADIOLOGY PHYSICIANS      UNSECURED     NOT FILED             .00          .00
OPTION ONE MORTGAGE CO    UNSECURED     NOT FILED             .00          .00
PAYDAY LOAN .             UNSECURED     NOT FILED             .00          .00
CHICAGO CENTRAL EP        UNSECURED     NOT FILED             .00          .00
CHICAGO CENTRAL EP        UNSECURED     NOT FILED             .00          .00
THE LOAN MACHINE          UNSECURED        310.05             .00          .00
USA CREDIT                UNSECURED     NOT FILED             .00          .00
GREGORY PARHAM            NOTICE ONLY   NOT FILED             .00          .00
MATTIE WALKER             NOTICE ONLY   NOT FILED             .00          .00
MARK PARHAM               NOTICE ONLY   NOT FILED             .00          .00
MARK PARHAM               NOTICE ONLY   NOT FILED             .00          .00
MARK PARHAM               NOTICE ONLY   NOT FILED             .00          .00

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WASHINGTON MUTUAL HOME L   NOTICE ONLY   NOT FILED                       .00               .00
WASHINGTON MUTUAL HOME L   NOTICE ONLY   NOT FILED                       .00               .00
CODILIS & ASSOCIATES ^     NOTICE ONLY   NOT FILED                       .00               .00
NEW AGE CHICAGO FURNITUR   UNSECURED       1586.90                       .00               .00
WASHINGTON MUTUAL          CURRENT MORTG       .00                       .00               .00
WASHINGTON MUTUAL          MORTGAGE ARRE 11000.00                        .00               .00
GLENDA J GRAY              DEBTOR ATTY         .00                                         .00
TOM VAUGHN                 TRUSTEE                                                         .00
DEBTOR REFUND              REFUND                                                          .00

         Summary of Receipts and Disbursements:
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                              RECEIPTS            DISBURSEMENTS
--------------------------------------------------------------------------------
TRUSTEE                                  .00

PRIORITY                                                              .00
SECURED                                                               .00
UNSECURED                                                             .00
ADMINISTRATIVE                                                        .00
TRUSTEE COMPENSATION                                                  .00
DEBTOR REFUND                                                         .00
                                   ---------------         ---------------
TOTALS                                        .00                     .00

     Based on the above information, the Trustee requests the court
enter an order discharging the Trustee, releasing the Trustee's surety
from any further liability related to the above proceedings.


                                        /s/ Tom Vaughn
     Dated: 07/18/08                    ______________________________
                                        TOM VAUGHN
                                        CHAPTER 13 TRUSTEE




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